                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                           )
                                                     )
                Plaintiff,                           )
                                                     )
 v.                                                  ) No. 4:20 CR 642 RWS (NCC)
                                                     )
 MARC HAROLD TAYLOR, III,                            )
                                                     )
               Defendant.                            )


                MOTION FOR PRETRIAL DETENTION AND HEARING

       Comes now the United States of America, by and through its attorneys, Jeffrey B. Jensen,

United States Attorney for the Eastern District of Missouri, and John T Davis, Assistant United

States Attorney for said District, and moves this Court to order the defendant detained pending

further judicial proceedings, and further requests that a detention hearing be held three days from

the date of the defendant’s initial appearance before the United States Magistrate Judge pursuant

to Title 18, United States Code, Section 3141, et. seq.

       As for its grounds for detention, the government requests this Court to consider the

following factors pursuant to Title 18, United States Code, Section 3142.

                                     Grounds for Detention

       1.      The defendant is charged in Counts I - III with felony offenses involving destructive

devices as defined in Title 18, United States Code, Section 921. See 18 U.S.C. § 3142(f)(1)(E).

                              The Nature and Circumstances of the Offense

       2.      Title 18, United States Code, Section 3142(g)(1) requires this Court to consider the

nature and characteristics of the offense charged, including whether the offense involves a firearm.




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    In this case, the offense involves a short-barreled machine gun and a homemade cannon device.

    (Attached photographs #1 & #2 respectively)

            3. The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) has examined both

    items and determined them to be “destructive devices” as defined by the United States Code.

    Because the three offenses with which the defendant is charged involve a firearm and a destructive

    device, the first of the § 3142(g) factors weighs in favor of detention (the offense involves a firearm

    or destructive device).

                          The Weight of the Evidence Against the Defendant

            4.      Section 3142(g)(2) requires this Court to consider the weight of the evidence

against the defendant. The government submits that the evidence against the defendant is strong.

            5.     The weight of the evidence against defendant is substantial, and is a factor weighing in

favor of detention. St Louis police officers were dispatched to the 4700 block of Kossuth Avenue for a

report of a man firing a gun in the street. When officers arrived at the scene, the defendant began firing at

them with an automatic machine gun. Police subdued the defendant by returning fire with a shotgun.

When police were able to apprehend the defendant, the machine gun he was firing at them was lying at his

feet. Officers located the other destructive device, a homemade cannon, in the defendant’s home.

            6.       ATF examined both items and determined them to be “destructive devices” as

defined by the United States Code. ATF test fired the machine gun and confirmed it fired 9mm

ammunition in a fully automatic fashion. ATF also determined the barrel of the machine gun had been

shortened to less than 16 inches.

            7.       Further, the ATF conducted a search of the National Firearms Registration and

Transfer Record and failed to find any registration by defendant Taylor.




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                           The History and Characteristics of the Defendant

           8.      Section 3142(g)(3)(A) requires this Court to consider the history and characteristics

of the person, including the person’s character, physical and mental condition, employment, financial

resources, length or residence in the community, community ties, past conduct, history relating to drug

or alcohol abuse, criminal history and record concerning appearance at court proceedings.

            9.     While the defendant has established roots in the community, the other factors this

    Court is to consider pursuant to Section 3142(g)(3)(A) weigh against his release in this case.

            10.    The defendant has a significant past history of mental health issues, alcohol and

    narcotics abuse and dependency.

            11.    A search of United States Army records reflect defendant Taylor’s discharge from

    military service for continued serious mental issues and drug and alcohol abuse. The records

    reflect that as recently as late 2017, defendant Taylor was hospitalized for alcohol and substance

    abuse as well as demonstrating suicidal and homicidal ideations.

            12.    The history and characteristics of the defendant, especially given the nature of the

    offenses charged, weigh heavily in favor of detention to ensure the safety of the community.

                    The Nature and Seriousness of the Danger to the Community

            13.    The defendant was found in possession of a fully functioning machine gun and a

    homemade destructive device resembling a cannon. By firing upon arriving police officers, the

    defendant has demonstrated that the safety of the community would be at risk if he were to be

    released on bond. See 18 U.S.C. § 3142(g)(4).




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                                            Risk of Flight

        14.     Having been charged with three offenses, each that carry penalties of up to ten years

incarceration, the defendant is a flight risk as he has incentive to flee.

                                             Conclusion

        15.     The government submits that when considering all of the factors outlined in Title

18, United States Code, Section 3142(g), the factors weigh heavily in favor of detention. There is

a presumption of detention and there is clear and convincing evidence that no condition or

combination of conditions will reasonably assure the safety of any other person and the

community. Additionally, there is a preponderance of evidence that no condition or combination

of conditions will reasonably assure the defendant’s appearance in court.

                                                Respectfully submitted,

                                                JEFFREY B. JENSEN
                                                United States Attorney

                                                 s/John T Davis
                                                JOHN T DAVIS
                                                Assistant United States Attorney




                                                   4
